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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION
  MICHAEL P. MISCH et al., on behalf of           )
  the UNITED STATES OF AMERICA                    )
  and the STATE OF INDIANA,                       )
                                                  )
          Plaintiffs,                             )
                                                  )
          v.                                      )   Case No. 3:16-CV-587 JD
                                                  )
  MEMORIAL HOSPITAL OF SOUTH                      )
  BEND, INC., et al.,                             )
                                                  )
          Defendants.                             )

                                              ORDER

       Two attorneys and their law firm filed this qui tam action against scores of Indiana

hospitals. They assert claims on behalf of the United States under the False Claims Act, and on

behalf of the State of Indiana under similar state laws. The State of Indiana appeared and moved

to dismiss the claims asserted on its behalf, pursuant to Indiana Code § 5-11-5.7-5(b) (permitting

the attorney general to move to dismiss claims asserted on behalf of the state). The relators

subsequently filed a joint stipulation with the State of Indiana agreeing to the dismissal with

prejudice of any claims raised on behalf of the State of Indiana. Therefore, given the parties’

agreement, the motion to dismiss [DE 153] and the stipulation [DE 166] are GRANTED and the

claims raised on behalf of the State of Indiana are DISMISSED WITH PREJUDICE.

       The relators have now filed a notice of voluntary dismissal of the claims brought on

behalf of the United States, as well. [DE 169]. The United States, which previously declined to

intervene in this action, responded by filing a notice that it consents to the dismissal of this case

without prejudice to the United States, pursuant to 31 U.S.C. § 3730(b)(1). [DE 170]. Given the

agreement between the relators and the United States that the federal claims should be dismissed
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without prejudice, and given the early stage of this case, as none of the defendants have filed an

answer or responsive pleading, the claims brought on behalf of the United States are now

DISMISSED WITHOUT PREJUDICE.

       Because all claims asserted in this action have now been dismissed, the Clerk is

DIRECTED to close this case.

       SO ORDERED.

       ENTERED: January 22, 2018

                                                     /s/ JON E. DEGUILIO
                                              Judge
                                              United States District Court




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